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                                                                  United
                                                                   UnitedStates
                                                                           States
                                                                                Bankruptcy
                                                                                  District Court
                                                                                            Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       January 16,
                                                                               15, 2025
                                                                      Nathan Ochsner, Clerk

           IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION

  IN RE:                             §
                                     §      CASE NO: 23-90611
  WESCO AIRCRAFT                     §
  HOLDINGS, INC., et al.,            §      CHAPTER 11
                                     §
           Debtors.                  §
                                     §
  WESCO AIRCRAFT                     §
  HOLDINGS, INC., et al.,            §
                                     §
           Plaintiffs,               §
                                     §
  VS.                                §      ADVERSARY NO. 23-3091
                                     §
  SSD INVESTMENTS LTD., et           §
  al.,                               §
                                     §
           Defendants.

                 REPORT AND RECOMMENDATION

        This is the first of three Reports and Recommendations to be
  issued in connection with this adversary proceeding. The adversary
  proceeding concerned challenges to an uptier transaction implemented
  by Wesco Aircraft Holdings, Inc. on March 28, 2022. On that date,
  Wesco entered into a financing transaction with a select group of its
  noteholders (the “2022 Transaction”). The 2022 Transaction was
  intended to provide $250 million in funding—money that the parties
  determined was needed to avert a liquidity crisis—in return for an
  exchange of the participating noteholders’ outstanding secured and
  unsecured notes for new, super-senior first-lien and second-lien notes.
  The transaction required stripping the collateral from liens securing
  Wesco’s outstanding secured notes in order to provide senior liens to




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  secure (i) the new $250 million; and (ii) the newly exchanged pre-
  existing notes.

        This R&R addresses Langur Maize’s claims. Langur Maize is a
  holder of Wesco’s unsecured notes. It purchased its notes after the 2022
  Transaction took place. Langur Maize argues the 2022 Transaction was
  impermissible under the unsecured note indenture. Langur Maize
  asserts claims for breach of contract, tortious interference with contract,
  and civil conspiracy against the transaction participants. On July 10,
  2024, the Court made an oral ruling holding that the 2022 Transaction
  breached certain sections of the unsecured note indenture.

         Wesco is liable to Langur Maize for those breaches. The Court
  recommends the District Court issue a declaration of liability for breach
  of contract against Wesco. The Court recommends dismissal by the
  District Court of the balance of Langur Maize’s breach of contract
  claims.

         Langur Maize does not have standing to assert its tortious
  interference claim against its named defendants. This results in the
  failure of both its tortious interference and civil conspiracy claims. The
  Court recommends dismissal by the District Court of the tortious
  interference and civil conspiracy claims.

                              BACKGROUND
  I.    FACTUAL BACKGROUND
         Wesco Aircraft Holdings, Inc. is the largest independent
  distribution and supply chain services provider in the civilian and
  military aerospace industry. Case No. 23-90611, ECF No. 13 at 3. The
  current Wesco, operating under the name “Incora,” was formed in
  January 2020 after completion of a leveraged buyout between Wesco’s
  predecessor entity and Pattonair, a leading aerospace services provider
  based in the United Kingdom. Case No. 23-90611, ECF No. 13 at 16–
  17.




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         On November 27, 2019, Wesco’s predecessor entered into three
  separate note indentures to fund the leveraged buyout of Pattonair: (1)
  $650 million in face amount of 8.50% senior secured notes due 2024 (the
  “2024 Notes”); (2) $900 million in face amount of 9.00% senior secured
  notes due 2026 (the “2026 Notes”); and (3) $525 million in face amount
  of 13.125% unsecured notes due 2027 (the “2027 Notes”). ECF Nos. 601-
  7 at 1; 601-8 at 1; 601-20 at 1. On January 9, 2020, Wesco entered into
  the Notes Security Agreement to provide liens on certain Wesco assets
  to the holders of the 2024 Notes and 2026 Notes. ECF No. 601-24 at 5–
  6.

        The documents executed in 2019 and 2020 were the initial seed
  in the future uptier transaction.         The documents specifically
  contemplated that two-thirds of the holders of a class of securities could
  authorize a non-pro rata transaction. Although there is no evidence that
  the parties foresaw Wesco’s 2022 liquidity crisis (see below), the
  documents were drafted by brilliant financers and lawyers who
  contemplated the potential benefits that a non-pro rata future
  transaction could offer.

        At all relevant times through the bankruptcy petition date, Wesco
  was owned through a chain of three holding companies that were
  controlled by Platinum Equity Advisors, a private equity firm. ECF No.
  630 at 229; Case No. 23-90611, ECF No. 13 at 17–18, 24–25. Wesco’s
  direct parent company was Wolverine Intermediate Holding II
  Corporation, which in turn was directly owned by Wolverine
  Intermediate Holding Corporation, which in turn was directly owned by
  Wolverine Top Holding Corporation. ECF No. 630 at 225, 227; Case No.
  23-90611, ECF No. 13 at 17–18, 24.

        Wesco’s holding companies were primarily controlled by
  employees of Platinum. Wolverine Intermediate Holding Corporation’s
  board was comprised of (i) Platinum employees; and (ii) Patrick Bartels,
  who was denominated as an independent director. ECF No. 630 at 227–
  28. From and after January 2020, Mary Ann Sigler, a partner and chief
  financial officer at Platinum, was the sole director of Wesco Aircraft



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  Holdings, Inc., Wolverine Intermediate Holding II Corporation,
  Wolverine Intermediate Holding Corporation (between January 2020
  and October 2021), and Wolverine Top Holding Corporation. ECF No.
  630 at 224–29. Ms. Sigler was also the sole member of Wesco
  Intermediate Holding Corporation’s audit committee. ECF No. 694 at
  84.

        A.     Wesco’s Liquidity Crisis
         Wesco faced a liquidity crisis during the height of the COVID-19
  pandemic. The pandemic drastically impacted the aerospace industry.
  ECF No. 630 at 13. Travel restrictions led to a swift decline in demand
  for aerospace services, and in combination with supply chain
  disruptions, caused Wesco to suffer decreased revenue and cash flows,
  sparking a liquidity shortfall. ECF No. 630 at 13; Case No. 23-90611,
  ECF No. 13 at 4. Platinum, Wesco’s equity sponsor, infused additional
  capital to generate liquidity runway. Platinum provided $25 million in
  equity into Wesco and Wesco issued a $25 million promissory note to
  Wolverine Top Holding Corporation, but these attempts were
  insufficient to cure the cash shortfall. ECF Nos. 601-21; 630 at 13–14;
  Case No. 23-90611, ECF No. 13 at 29.

         By the fourth quarter of 2021, Wesco’s liquidity shortfall
  significantly worsened. ECF No. 630 at 148. Wesco’s estimates
  indicated that the company might miss the interest payment on its
  outstanding notes due November 2021. ECF No. 630 at 148. Wesco
  “barely made” the interest payment, and its cash situation “continued to
  get tighter and tighter.” ECF Nos. 630 at 14; 664 at 47.

         Wesco continued to endure serious financial pressures and
  predicted a deficit running through the due date of its May 2022 interest
  payment on outstanding debt. ECF No. 664 at 47–48. Katsumi, Wesco’s
  factoring agent, withdrew from its factoring agreement with Wesco. The
  company was concerned that it might not have the ability to repay the
  $40 million owed to Katsumi. ECF No. 664 at 48–50. Although Wesco
  did repay Katsumi in early 2022, these financial pressures nevertheless




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  had an impact on Wesco’s outlook and threatened a negative result on
  Wesco’s upcoming statutory audit in the United Kingdom. ECF No. 664
  at 50, 51–52. If Wesco received a negative audit result, Wesco’s asset-
  based lending agreement would be in default. ECF No. 664 at 54–55.
  Wesco’s auditors indicated that a cash injection of $150 million to $200
  million would be required to obtain a clean audit opinion. ECF No. 664
  at 125. Wesco requested its United Kingdom auditors to delay
  publishing their audit opinion until they found their needed liquidity
  cushion. ECF No. 630 at 189.

         Wesco sought to delay filing its financial statements with the
  auditors until they received a cash injection, but the auditors informed
  the company they would strike off the company if they did not receive
  the statements. ECF No. 664 at 56. If the auditors were to strike off
  the company, it would be illegal for Wesco to do business in the United
  Kingdom. ECF No. 664 at 56. The auditors were only able to delay the
  audit results until the end of March 2022. ECF No. 630 at 189.

        The pressures sparked a liquidity crisis in March 2022. At this
  time, Wesco had not “regained a satisfying buffer in liquidity.” ECF No.
  630 at 188. Wesco was also concerned about suppliers shortening their
  payment periods. For each day that a vendor reduced its payables,
  Wesco was an additional $5 million shorter in cash. ECF No. 664 at 53.
  Wesco began stretching its payment terms with the suppliers and was
  paying them “later and later.” ECF No. 630 at 188. The suppliers
  started reacting by stopping shipment or requesting cash up front. ECF
  No. 630 at 188–89. Wesco distributes parts from suppliers to customers.
  ECF No. 630 at 167. Its relationship with its suppliers is the core of its
  business and is “irreplaceable” for its operations. ECF No. 630 at 167.
  But in the eyes of its suppliers, a distributor is “at the end of the day,
  always replaceable.” ECF No. 630 at 167.

        These circumstances lead to an urgent, imminent need to
  generate liquidity. ECF No. 630 at 189.




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        B.     The Funding Proposals
               (1)   The Majority Group Proposal
         Wesco began exploring funding options by the fourth quarter of
  2021. At the end of October 2021, Platinum received outreach
  contemplating a potential financing transaction from PIMCO and Silver
  Point Capital, two existing holders of the company’s outstanding 2024
  Notes and 2026 Notes (the “Majority Group”). ECF No. 630 at 146.
  About a month prior in September 2021, Silver Point had begun
  contemplating a “Serta type transaction where 2/3 of the 1L elevates
  above the other 1/3.” ECF No. 700-35 at 4. PIMCO and Silver Point
  then began increasing their holdings of the 2024 Notes and 2026 Notes,
  recognizing the need for a 66 2/3% vote of the notes in order to obtain
  the necessary consents under the Indentures to authorize the form of
  transaction they were contemplating. ECF Nos. 700-58 at 3; 725-28 at
  4–19; 729-53 at 26–29; 734-8 at 3; 955 at 198–99. On December 23, 2021,
  the Majority Group sent Wesco an initial confidential proposal for a new
  money transaction. ECF No. 639-1 at 1.

        The Majority Group’s initial proposal contemplated a transaction
  to provide $200 million of new, super-senior debt and an extension on
  the maturities of the group’s then-held notes. ECF No. 639-1 at 3. The
  proposal stated that PIMCO and Silver Point held “over two-thirds of
  the outstanding secured notes due 2024 and over one-half of the
  outstanding secured notes due 2026 issued by Wesco Aircraft Holdings,
  Inc.” ECF No. 639-1 at 1.

         PIMCO and Silver Point intended that they would be the only
  secured noteholders participating in a transaction to exchange their
  existing 2024 Notes and 2026 Notes for new super-senior first-lien debt.
  ECF No. 639-1 at 3. The proposal also permitted the 2027 Noteholders
  and Wolverine Top Holding Corporation PIK Noteholders to participate
  in an exchange of their notes into super-senior second-out debt. ECF
  No. 639-1 at 3. Wesco countered the proposal by seeking to include
  PIMCO, Silver Point, and “potentially other holder(s).” ECF No. 639-2
  at 3. PIMCO and Silver Point eventually agreed that some (but not all)



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  other secured noteholders could participate in the transaction. ECF No.
  610-11 at 7.

         Wesco negotiated with the Majority Group over the course of the
  next few months, culminating with agreed terms on February 26, 2022.
  ECF No. 610-11 at 2. The negotiations led to an agreement for the group
  to provide $250 million in new money in return for an exchange of the
  group’s then-held 2024 Notes and 2026 Notes into super-senior first-lien
  notes (the “1L Notes”) and then-held 2027 Notes into super-senior
  second-lien notes (the “1.25L Notes”). ECF No. 610-11 at 7–8. For the
  1L Notes and 1.25L Notes to be secured, the 2024 and 2026 Indentures
  would have to be amended to release the liens securing the 2024 Notes
  and 2026 Notes, rendering the notes unsecured at a time of a severe
  liquidity crisis. ECF Nos. 700-58 at 3; 955 at 49–51, 199–200.

         The dollar amount of the new 1L Notes would include both the
  $250 million of the new funding and the principal amount of the
  exchanged 2024 Notes and 2026 Notes. ECF No. 610-11 at 7. The terms
  of the 1L Notes would include a rate of 7.5% cash and 3% PIK, certain
  call protections, a November 2026 maturity date accelerating to October
  2024 if over $50 million of 2024 Notes remained outstanding, and
  covenants to be based on the existing covenants with potential mutually
  agreed modifications to debt incurrence, liens, investments, restricted
  payments, and creation of unrestricted subsidiaries. ECF No. 610-11 at
  7. The transaction would be a “par-for-par exchange” into the 1L Notes
  with a 1.125% PIK fee payable to the participating 2024 Notes and 2026
  Notes. ECF No. 610-11 at 7.

         The 1.25L Notes would have a potential $1.05 billion basket
  “which includes exchange debt and basket for future incurrence /
  exchange.” ECF No. 610-11 at 8. The terms of the notes would include
  a rate of 10% all PIK (with any second-out debt used to exchange future
  debt being cash interest neutral and any second-out debt raised in the
  form of new money being 100% PIK pending further discussion) and an
  elimination of all material negative covenants on the unsecured notes.
  ECF No. 610-11 at 8.



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         With respect to the secured exchange, the participating
  noteholders would include PIMCO, Silver Point, and certain other
  participating holders pending further agreement. ECF No. 610-11 at 7.
  The parties eventually agreed that the participants would include
  PIMCO, Silver Point, Senator Investment Group, Citadel, Olympus
  Peak Asset Management, and Macquarie Asset Management. ECF Nos.
  738 at 44–45; 868 at 26–27. However, Olympus Peak and Macquarie
  did not end up participating in the transaction. ECF No. 955 at 104.

         The decision to allow additional participants was not an
  eleemosynary one. Evidence admitted at trial revealed that the
  Majority Group determined that they were in error when they believed
  they held over two-thirds of the 2026 Notes. They believed that
  participation of these additional institutions was required to obtain the
  requisite 66 2/3% vote of the 2026 Notes to approve the transaction.
  ECF Nos. 868 at 18; 1013 at 188–89; 1173 at 25. As it turns out, even
  the additional participants did not hold a sufficient amount of debt to
  create a two-thirds majority.

        Moreover, Senator held a majority of the Wolverine Top Holding
  Corporation PIK notes not held by Platinum, and consent of the notes
  would have been necessary to amend the notes’ indenture to permit the
  issuance of $250 million in incremental debt.1 ECF No. 738 at 45. All
  other holders of 2024 Notes and 2026 Notes would be excluded from the
  transaction. ECF Nos. 697 at 106; 939 at 200, 202–03.

         With respect to the unsecured exchange, PIMCO’s and Silver
  Point’s initial proposal did not seek to exclude other holders of
  unsecured 2027 Notes. ECF No. 639-1 at 3. But the parties eventually
  settled on terms permitting only Carlyle Group (and its co-investor




  1 Senator held approximately $38.4 million of the Wolverine Top Holding Corporation

  PIK notes. ECF No. 604-2 at 4. Although the Wolverine Top Holding Corporation PIK
  notes were not exchanged, Senator provided the consents under those notes to make
  the necessary amendments to the notes’ indenture. ECF Nos. 738 at 45; 879 at 89–90.




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  Spring Creek Capital), Senator, and Platinum to exchange their 2027
  Notes for 1.25L Notes. ECF No. 610-11 at 8.

         Carlyle’s participation was required because it held a majority of
  the 2027 Notes not held by Platinum. Consequently, it had the ability
  to provide the requisite consent to amend the 2027 Indenture to permit
  the transaction. The exchange of Carlyle’s then-held 2027 Notes into
  1.25L Notes was provided as consideration for both the consents and the
  agreement to exchange cash interest notes for PIK notes. ECF Nos. 738
  at 47; 832 at 78–79 (“Carlyle provided consent for the company to raise
  $250 million of new money to provide cash to balance sheet liquidity for
  the business to improve its runway. It had also PIK’ed the majority of
  our cash interests. In exchange for that, we were allowed to exchange
  our notes into new one and a quarter lien notes.”).

         The facts surrounding the group’s decision to exclude other 2027
  Noteholders is a point of contention. Trial testimony demonstrates that
  PIMCO and Silver Point believed that the inclusion of all 2027
  Noteholders would have provided additional benefits to Wesco’s
  liquidity through the exchange of additional cash interest notes for PIK
  interest notes. ECF Nos. 639-1 at 3; 868 at 93–95, 120 (Jason Prager—
  Silver Point); 879 at 185 (James O’Connell—PJT Partners); 955 at 90
  (Samuel Dostart—PIMCO); 969 at 77–78 (Samuel Dostart—PIMCO);
  1115 at 172–73 (Mr. Bartels).

        James O’Connell, an employee of PJT Partners (Wesco’s financial
  advisor), testified on multiple occasions that Carlyle was not willing to
  include other 2027 Noteholders into the exchange. ECF Nos. 738 at 7,
  9–10; 879 at 120–21, 125. Although there are inconsistencies in Mr.
  O’Connell’s testimony,2 the Court nevertheless found him to be a


  2 Mr. O’Connell first testified that Carlyle was willing to permit Platinum to
  participate in the exchange but later clarified that Carlyle was initially unwilling to
  permit Platinum’s participation. ECF No. 879 at 120–21, 125. Mr. O’Connell also
  testified in his deposition, admitted into the record, that he did not recall Carlyle
  asking to exclude Platinum’s notes from the exchange. ECF No. 879 at 131. The
  history of the parties’ negotiations demonstrate that Carlyle did initially seek to



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   credible witness. Mr. Bartels also testified that, at least as of February
   17, 2022, the PIMCO and Silver Point group and Wesco agreed that they
   would not exclude any particular 2027 Noteholders. ECF No. 1115 at
   172. Conversely, Jesse Hou, an employee at Carlyle, testified that
   although Carlyle did not want other participants in the transaction, it
   “never specifically asked to exclude anyone.” ECF No. 832 at 70, 139–
   41.

          The trial testimony, although credible, is conflicting.
   Nevertheless, the circumstances of the transaction and the parties’
   proposals suggest that Carlyle was the driving force behind the decision
   to exclude other 2027 Noteholders. Wesco’s January 2022 lender advisor
   presentation states that the company would plan to negotiate the
   unsecured exchange with Carlyle and Platinum, representing its two
   largest unsecured creditors. ECF No. 538-12 at 53. Upon successfully
   negotiating a second lien capacity with the secured creditors,
   participating unsecured noteholders would then be permitted to uptier
   their notes into the 1.25L Notes. ECF No. 538-12 at 53. The
   presentation states that Wesco “would then launch an exchange to all
   Unsecureds.” ECF No. 538-12 at 53. The presentation does suggest a
   two-step exchange, where initial participating notes are first exchanged
   followed by an exchange available to all other 2027 Noteholders. ECF
   No. 538-12 at 53–54. But the presentation did not define who was
   eligible to participate. ECF No. 538-12 at 53–54. The presentation also
   contains a financial proposal illustrating that Wesco believed the
   greatest liquidity benefits would be achieved if all unsecured notes
   participated in the transaction. ECF No. 538-12 at 55. Raymond
   Carney, Wesco’s chief financial officer, testified that although he did not
   remember actual negotiations, he agreed with this interpretation of the
   presentation. ECF Nos. 664 at 30; 694 at 122–24. The presentation
   demonstrates the obvious: it was in Wesco’s economic interest to seek an



   exclude Platinum and eventually conceded on permitting Platinum’s participation.
   ECF Nos. 610-35 at 10; 832 at 112–12.




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   exchange of all unsecured notes and Wesco recognized that interest
   when contemplating the transaction.

          On February 16, 2022, Wesco made an initial proposal to Carlyle
   for an exchange transaction of the 2027 Notes. ECF No. 610-7 at 2. At
   this stage, potential participants were still referred to as “participating
   Unsecured Noteholders,” and who would be eligible to participate
   remained undefined. ECF No. 610-7 at 2. Carlyle’s counterproposal
   shows that Carlyle was amenable to potentially permitting other
   holders (except for Platinum3) to participate in the transaction. ECF
   No. 610-13 at 4. On February 27, 2022, Carlyle received the first
   proposal from Wesco contemplating the eventually consummated uptier
   transaction. ECF No. 610-14 at 2. This proposal stated that “Carlyle,
   Senator and Platinum may exchange unsecured holdings into Super
   Senior Second-Out Debt at par; but for the avoidance of doubt, HoldCo
   PIK notes will not be eligible to participate.” ECF No. 610-14 at 11. The
   participation provision is ambiguous on whether Wesco wanted
   additional 2027 Noteholders to participate. Although the proposal does
   not provide for additional noteholders, its specific reference to the
   exclusion of the HoldCo PIK notes suggests that the potential for
   additional 2027 Noteholder participants was not abandoned at this
   stage. Carlyle’s counterproposal agreed with the change except that it
   sought to exclude Platinum, but Carlyle eventually conceded to include
   Platinum in the exchange. ECF No. 610-35 at 10.

          The negotiations surrounding the permitted note basket best
   reveal the intentions of the parties with respect to limiting participants.
   Wesco sought a permitted note basket of “$1,050mm which includes
   exchange debt and basket for future incurrence / exchange.” ECF No.
   610-34 at 9. This matches Wesco’s prior presentations and its economic
   incentive to maximize the exchange of cash interest notes into PIK
   interest notes. Given that the there was a total $525 million in
   outstanding 2027 Notes as of March 2022, this basket would have been

   3 Mr. Hou testified that Carlyle believed that Platinum’s exclusion would best support

   maximizing Wesco’s liquidity. ECF No. 832 at 112–13.




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   sufficient to include all 2027 Noteholders into the exchange. ECF No.
   1115 at 173.

          Carlyle rejected the proposal and sought a basket to “be sized for
   exchange of Carlyle and Senator unsecured debt (but not Holdco debt).
   Carlyle to have consent rights to all further uptiers and New Money—
   and a ROFR on New Money.” ECF No. 610-35 at 9. Mr. Hou testified
   that Carlyle “wanted the basket to be sized precisely to match Carlyle
   and Senator’s holding and . . . no more.” ECF No. 832 at 120. Carlyle
   had an economic interest in limiting participation. Mr. Hou testified
   that Carlyle sought to limit participation in the transaction to avoid lien
   dilution on the 1.25L Notes. ECF No. 832 at 140. Carlyle’s attempt to
   limit the note basket and Mr. Hou’s testimony on the motivation behind
   that decision provide convincing evidence that the decision to exclude
   other 2027 Noteholders was driven by Carlyle.

                (2)    The Minority Group Proposal
          By February 2022, another group of noteholders had organized to
   propose an alternative financing transaction (the “Minority Group”).
   ECF No. 630 at 174–75. On February 14, 2022, counsel to the Minority
   Group sent Wesco’s counsel correspondence stating they believed they
   held in excess of one-third of the aggregate amount of 2026 Notes,
   indicating they had a blocking position on the Majority Group’s uptier
   transaction. ECF Nos. 639-4 at 2; 738 at 56–59. Although the
   correspondence requested that Wesco “immediately engage with the Ad
   Hoc Group and Akin Gump [the Minority Group’s counsel] to discuss
   potential solutions to the Company’s capital structure challenges and/or
   liquidity needs,” the correspondence did not contain a financing proposal
   or indicate whether the group had retained a financial advisor. ECF
   Nos. 639-4 at 2; 738 at 60. The Minority Group did not retain a financial
   advisor until March 2022. ECF No. 738 at 61. Notwithstanding the
   absence of a financial advisor, the Minority Group was comprised of
   major financial institutions and represented by a law firm with deep
   financial expertise. Wesco’s engagement with the Minority Group
   existed, but was not robust.



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          On February 21, 2022, the Minority Group’s counsel sent further
   correspondence to Wesco disclosing that the group held $317.7 million
   in 2026 Notes, reflecting 36.02% of the outstanding 2026 Notes (or
   $394.71 million in 2026 Notes, reflecting 44.75%, with the inclusion of
   unsettled trades and notes out on loan). ECF Nos. 639-5 at 1–3; 738 at
   62. The correspondence stated that the group was willing and able to
   engage with Wesco to facilitate a transaction that would provide Wesco
   its needed liquidity without having to modify the existing debt
   documents. ECF Nos. 639-5 at 1–3; 738 at 63. Mr. O’Connell testified
   that they had follow up discussions with the Minority Group’s
   noteholders following the correspondence and provided diligence
   materials to the group’s financial advisor, Perella Weinberg Partners,
   once it was retained. ECF No. 738 at 63–64, 73.

          The Minority Group sent Wesco correspondence attaching an
   initial proposal on March 6, 2022. ECF Nos. 639-7; 738 at 68. The
   correspondence states that the Minority Group’s advisors were
   reiterating their request “for all diligence information that has
   previously been provided to [the Majority Group] so we can provide the
   Company with a proposal to address its liquidity concerns.” ECF No.
   639-7 at 2. Mr. O’Connell testified that Wesco did not provide the
   Minority Group’s advisors all the diligence they provided to the Majority
   Group, but that the Minority Group requested and was provided
   information that the Majority Group had not received. ECF No. 738 at
   71. Mr. O’Connell testified that it is typical for different parties to a
   transaction to seek different information. ECF No. 738 at 71.

          The proposed transaction sought to provide $100 million of
   financing through a non-guarantor term loan and around $47.5 million
   of financing that was unavailable under Wesco’s ABL facility. ECF Nos.
   639-7 at 16; 738 at 73. The total financing would be $147.5 million with
   the inclusion of a maturity extension of $43 million of the 2024 Notes
   through November 2026 and an exchange of Carlyle’s and Platinum’s
   2027 Notes into new PIK Unsecured Notes due 2027. ECF Nos. 639-7
   at 17; 738 at 73. The proposal sought the creation of a non-guarantor




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   restricted entity structured as a joint venture as the borrower for the
   term loan. ECF Nos. 639-7 at 17; 738 at 74.

         Although Mr. O’Connell believed that the proposal would not
   require amendments to the Indentures, he found that the proposal had
   shortcomings. ECF No. 738 at 74. Mr. O’Connell testified that in order
   to negotiate better terms with the Minority Group, he communicated to
   the group that the proposal lacked in the up-front liquidity Wesco
   needed and expressed his concern on the group’s ability to obtain
   Carlyle’s and Platinum’s agreement to exchange their 2027 Notes. ECF
   No. 738 at 75.

         Wesco did not send the Minority Group a counter proposal. ECF
   No. 1007 at 38, 59. Following the rejection of the proposal, the Minority
   Group sought additional diligence information from Wesco, but the
   group did not receive all the requested diligence. ECF Nos. 639-9 at 1;
   738 at 78–80; 1007 at 68.

          On March 11, 2022, the Minority Group sent Wesco a revised
   proposal. ECF Nos. 536-22 at 4; 738 at 83. The proposal sought to
   provide the new money without needing any amendments to the secured
   Indentures. ECF No. 630 at 184. The proposal provided $173 million of
   financing, about $25 million higher than the prior proposal. ECF Nos.
   536-22 at 5; 738 at 83. The proposal relied on certain exceptions to the
   Indentures to issue new debt facilities that would not rely on existing
   note baskets and would be based on an enhancement of Wesco’s ABL
   lending facility. ECF No. 630 at 183–84. The proposal relied on three
   different facilities: (1) a $100 million new money term loan, which
   required creating a non-guarantor restricted joint venture entity; (2) a
   $47.5 million ABL facility, which required using capacity from Wesco’s
   existing ABL facility; and (3) the issuance of incremental $25 million in
   new secured PIK notes due 2026. ECF No. 536-22 at 6–7; 1007 at 66–
   67. However, a condition precedent to issuing the $25 million secured
   PIK notes was that Platinum would be required to equitize its $25
   million promissory note due 2024 to free up basket capacity. ECF Nos.
   536-22 at 7; 1007 at 67.



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          The proposal also sought to amend interest and amortization
   terms for the group’s 2024 Notes and 2026 Notes and extend maturities
   on 2024 Notes through November 2026. ECF No. 536-22 at 5. A
   condition precedent to the amendment would be Platinum agreeing to
   exchange its 2027 Notes into new PIK unsecured notes, agreeing to PIK
   100% interest through November 2024, and foregoing its $7 million
   annual management fee. ECF Nos. 536-22 at 7; 1007 at 67–68. The
   proposal also offered to replace or provide credit support for certain
   existing factoring facilities. ECF No. 536-22 at 5. The Minority Group
   would be willing to provide the full amount of the capital if needed, but
   all secured noteholders would be permitted to participate. ECF No. 1007
   at 65–67.

          The proposal contained an alternative structure. Under the
   alternative structure, the Minority Group would be willing to increase
   the size of the term loan to $250 million, which would be supported by
   letters of credit provided by third parties. ECF Nos. 536-22 at 8; 1007
   at 72. These letters of credit would have to be collateralized. ECF No.
   1007 at 72. The premise was that the new facilities would not be
   prohibited under the Indentures if they had a third-party security,
   which the proposal sought to provide through third-party letters of
   credit. ECF No. 630 at 184. The Minority Group agreed to backstop the
   $250 million in letters of credit, which rights would also be offered to all
   secured noteholders. ECF No. 1007 at 70–71.

          Wesco and its advisors did not believe that the Minority Group’s
   proposed transaction was viable. With respect to the main proposal,
   Wesco did not see the $173 million in financing as sufficient to satisfy
   its liquidity concerns. ECF No. 738 at 84. With respect to the $100
   million new money term loan, it was unclear what assets could be
   identified to transfer to the new entity. ECF No. 738 at 85–86. Consents
   would also have to be obtained from Wesco’s ABL lender in order to use
   capacity from Wesco’s ABL loan for $47.5 million of the financing. ECF
   No. 738 at 89. Wesco was also concerned with the condition precedent
   requiring Platinum’s equitization of its $25 million promissory note.




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   ECF No. 738 at 84. If Platinum refused to convert its $25 million
   promissory note into equity, there would be no available basket for $25
   million secured PIK notes. ECF No. 738 at 91–92. The proposal also
   sought to extend the principal maturities of between $43 million to $90
   million of 2024 Notes, which was vastly inferior to the Majority Group’s
   proposal that extended maturities of over $450 million of 2024 Notes.
   ECF Nos. 536-22 at 4; 738 at 94.

          With respect to the alternative proposal, Wesco determined that
   its method of securitizing the facilities with third-party letters of credit
   was not feasible because the letters of credit would need a form of
   security themselves.       ECF Nos. 630 at 184; 738 at 96.              Mr.
   Vorderwuelbecke testified that Wesco determined there would be
   around a 50% loan-to-value ratio for the letters of credit, and with $250
   million in letters of credit, there would be a need to obtain $500 million
   in assets to back the letters of credit. ECF No. 630 at 184–85. The
   company did not find it realistic to locate $500 million in unencumbered
   assets. ECF No. 630 at 184. Wesco believed that the Minority Group
   only had a “slim” chance of implementing the proposal, whereas at the
   same time they had already developed a fully negotiated agreement with
   the Majority Group. ECF No. 630 at 186. The conclusion was reached
   without detailed discussions with the Minority Group about the
   concerns. For example, the Minority Group offered to back the letter of
   credit proposal. As long as the Minority Group was providing the letters
   of credit, concerns about the quality of collateral would not be pressing.
   The lack of engagement was striking. Although it was disappointing, it
   was not, in itself, actionable.

         Wesco and its advisors believed the Majority Group’s proposal
   was superior to the Minority Group’s in terms of maturity extensions,
   amortization reductions, and cash interest reductions. ECF Nos. 630
   at 202–03; 1351 at 21–23, 32–33. The company concluded that the
   Majority Group’s proposal “provided the most liquidity for the longest
   period of time.” ECF No. 1351 at 12. Moreover, PIMCO and Silver Point
   were in a “power position” that would allow them to prevent Wesco from




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   getting financing from other sources, and Wesco expected PIMCO and
   Silver Point to use that power. ECF No. 697 at 107–08. Wesco and its
   advisors rejected the proposal and never made a counterproposal to the
   Minority Group. ECF No. 1007 at 78.

          After having considered the comprehensive record, the Court
   concludes that the Majority Group’s proposed transaction was superior
   for Wesco when compared to the Minority proposal. The problem was
   that the Majority Group’s transaction was not actionable because they
   did not control two-thirds of the 2026 Notes.

         C.     The 2022 Transaction
                (1)    The Majority Group’s Holdings
          The Majority Group did not hold the required two-thirds interest
   in the 2026 Notes. Rather than fully engage with the Minority Group,
   the Majority Group decided to proceed by sleight of hand. The Majority
   Group decided to use its 51% majority stake to issue new 2026 Notes to
   itself. By becoming holders of the newly issued notes, the Majority
   Group would raise their ownership percentage to over two-thirds. At
   that point, they incorrectly believed, they could proceed with their non-
   pro rata transaction.

         The 2024 and 2026 Indentures required a 66 2/3% vote to amend
   the Indentures if the amendment had the “effect of releasing all or
   substantially all of the Collateral from the Liens created pursuant to the
   Security Documents.” ECF Nos. 601-8 at 131; 601-20 at 129. The
   transaction would require releasing collateral from liens securing the
   2024 Notes and 2026 Notes in order to secure the 1L Notes and 1.25L
   Notes. ECF Nos. 700-58 at 3; 955 at 49–51, 199–200. Therefore, the
   simple majority vote of the 2026 Notes was ineffective and a two-thirds
   vote was required.

          As of February 16, 2022, the Majority Group only held $522.5
   million in 2026 Notes, or 59.2%, available to vote. ECF Nos. 542-8 at 2;
   868 at 39–40. Although the group “held” 67.1% of the 2026 Notes, 1.5%
   of those holdings were unsettled trades and 6.4% were notes out on loan



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   and ineligible to vote or participate in the exchange. ECF Nos. 542-8 at
   2; 868 at 39–440, 447. The Majority Group did hold over two-thirds of
   the 2024 Notes. ECF Nos. 542-8 at 2; 868 at 38–39.

          The Majority Group also held sufficient 2027 Notes to consent to
   amending the 2027 Indenture. ECF Nos. 603-6 at 5; 602-37 at 4; 832 at
   77. Consent of a simple majority of holders of 2027 Notes was required
   in order to amend various provisions of the 2027 Indenture to permit the
   additional issuance of $250 million in incremental debt, which was
   funded through the issuance of additional 2026 Notes. ECF Nos. 738 at
   47; 832 at 78–79.

                (2)   Resignation of BNY Mellon, Appointment of
                      WSFS, and Board Approval of the 2022
                      Transaction
          On February 23, 2022, Kevin Smith (a Platinum employee)
   informed The Bank of New York Mellon Trust Company, the indenture
   trustee for the 2024 Notes, 2026 Notes, and 2027 Notes, about
   anticipated litigation in connection with the Majority Group’s
   transaction and that Wesco would not object if BNY Mellon resigned as
   trustee. ECF No. 827 at 184. On March 14, 2022, BNY Mellon resigned
   as trustee and Wilmington Savings Fund Society (“WSFS”) was
   appointed as the successor trustee. ECF Nos. 707-57 at 32; 1350 at 213–
   14. Patrick Healy (a WSFS employee) testified that it is common for
   WSFS to be appointed as a successor trustee for transactions that
   “involve lender-on-lender violence or creditor issues.” ECF No. 1350 at
   5, 214–15.

          On March 24, 2022, the board of directors of Wolverine
   Intermediate Corporation, including Mr. Bartels, voted in favor of
   pursuing the Majority Group’s transaction. ECF Nos. 536-24 at 2; 630
   at 199. The evidence demonstrates that the board and its advisors
   believed the transaction to be in the company’s best interest. ECF Nos.
   630 at 209; 738 at 35, 112–13; 868 at 236. All directors other than Mr.
   Bartels left the meeting and then Mr. Bartels, in his capacity as




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   independent director,4 solely approved the portion of the transaction
   involving the exchange of notes held by Platinum-affiliated entities.
   ECF Nos. 536-24 at 2; 630 at 205.

                  (3)     The 2022 Transaction Documents
         The transaction was completed on March 28, 2022. ECF No. 1184
   at 46. Because the Majority Group did not have a supermajority vote
   of the 2026 Notes, the group instead agreed to a mandatory and
   automated closing sequence to allow for the issuance of additional 2026
   Notes to be used to vote for lien-releasing amendments to the 2026
   Indenture.5

          The Majority Group relied on certain simple majority provisions
   in the Indentures to permit the initial amendments. Section 9.02 of the
   2024 Indenture and 2026 Indenture provides that any amendment or
   supplement, except in certain enumerated circumstances, may be made
   “with the consent of the Holders of at least a majority” of the “then
   outstanding” 2024 Notes and 2026 Notes. ECF Nos. 601-8 at 130; 601-
   20 at 127–28. An exception to the majority vote requirement is the two-
   thirds vote required under the lien release provision. ECF Nos. 601-8
   at 131; 601-20 at 129. The secured Indentures also have certain “sacred
   rights” provisions that require the support of each affected noteholder.
   ECF Nos. 601-8 at 130–31; 601-20 at 128–29. Section 9.02 of the 2027
   Indenture has similar consent requirements to amend the Indenture,
   but only contains two consent thresholds. Similar to the secured
   Indentures, it requires consent of a simple majority to make any

   4 Although Mr. Bartels was appointed as an independent director, evidence admitted

   at trial suggests that he did not act independently.
   5 The 2022 Transaction was orchestrated through a ten-minute closing call. All parties
   had possession of fully executed transaction documents prior to the closing call, and
   each transaction document was deemed delivered automatically without any action
   required of any party. The facts surrounding the closing call are relevant only to the
   issue of whether the 2022 Transaction complied with the 2026 Indenture. Because
   those facts are not relevant to Langur Maize’s claims, they are not explained in great
   detail in this R&R. The Court has invalidated those portions of the Transaction that
   stripped the first liens securing the 2026 Notes.




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   amendment or supplement except in certain enumerated circumstances.
   ECF No. 601-7 at 116. The Indenture contains similar “sacred rights”
   provisions that require the consent of each affected noteholder. ECF No.
   601-7 at 117–18. The 2027 Indenture does not contain a supermajority
   lien-release provision.

         The 2022 Transaction was documented as follows:

          The original Indentures were amended via the Third
   Supplemental Indentures to the 2024, 2026, and 2027 Indentures. The
   purpose of the Third Supplemental Indentures was to permit the
   issuance to the Majority Group of $250 million in additional 2026 Notes
   secured by the existing collateral. These amendments were made
   pursuant to the simple majority provision contained in § 9.02 of the
   original Indentures. ECF Nos. 601-30 at 1; 601-39 at 1; 604-18 at 1. The
   Third Supplemental Indentures contained three principal amendments:
   (1) adding new definitions of “Additional 2026 Secured Notes” and “Note
   Purchase Agreement;” (2) amending the definition of permitted liens to
   include liens securing the additional 2026 Notes; and (3) allowing the
   incurrence of the additional 2026 Notes. ECF Nos. 601-39 at 2, 601-30
   at 2, 604-18 at 2.        The Third Supplemental Indentures were
   accompanied by consent letters of the respective notes and the
   Wolverine Top Holding Corporation PIK notes. ECF Nos. 601-27; 601-
   29; 602-37; 603-2; 603-5; 603-16; 604-2; 604-16; 604-24; 604-40.

          Wesco’s issuance to the Majority Group of $250 million in
   aggregate principal amount of additional 2026 Notes was performed
   through the Note Purchase Agreement. ECF No. 602-24 at 4, 10. The
   original 2026 Indenture contemplated the issuance of additional secured
   notes on a pari passu basis in the form of “Additional Secured Notes,”
   subject to limitations on the incurrence of debt and liens. ECF No. 601-
   8 at 54, 111. The Third Supplemental Indentures amended the
   definitions necessary to permit the purchase of the additional 2026
   Notes. ECF Nos. 601-39 at 2, 601-30 at 2, 604-18 at 2.




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          The Fourth Supplemental Indentures released the liens securing
   the 2024 Notes and 2026 Notes, as held by WSFS as the trustee for the
   notes, allowed for the issuance of new secured debt, and removed certain
   covenants that could prevent consummation of the 2022 Transaction.
   ECF Nos. 601-33 at 1–3; 601-34 at 1–5; 604-4 at 1–5. The Fourth
   Supplemental Indentures were accompanied by the consent letters of a
   two-thirds majority of holders of 2024 Notes and 2026 Notes (including
   the holders of the additional 2026 Notes), a majority of the 2027 Notes,
   and a majority of the Wolverine Top Holding Corporation PIK notes.
   ECF Nos. 602-22; 602-33, 603-8; 603-10; 603-11; 603-13; 603-17; 603-29;
   604-1; 604-17.

          The Exchange Agreement facilitated the exchange of
   participating 2024 Notes, 2026 Notes, and 2027 Notes for 1L Notes and
   1.25L Notes. Pursuant to the Exchange Agreement, the participating
   secured noteholders agreed to deliver their 2024 Notes and 2026 Notes
   to Wesco, and in exchange, Wesco agreed to issue them the 1L Notes.
   ECF No. 604-19 at 17.         Similarly, the participating unsecured
   noteholders agreed to deliver their 2027 Notes to Wesco in exchange for
   the 1.25L Notes. ECF No. 604-19 at 18.

         The Amended and Restated Notes Security Agreement was
   designed to grant first liens to the holders of the new 1L Notes. ECF
   No. 602-27 at 6–8.

   II.   PROCEDURAL BACKGROUND
          On June 1, 2023, Wesco and its related entities filed voluntary
   petitions for relief under Chapter 11 of the Bankruptcy Code. See, e.g.,
   Case No. 23-90611, ECF No. 1. That same day, the Court entered an
   order directing joint administration of the Chapter 11 cases. Case No.
   23-90611, ECF No. 73. Wesco’s joint Chapter 11 plan of reorganization
   was confirmed on December 27, 2024. Case No. 90611, ECF No. 2528.

         A.     The New York Lawsuits
         On October 28, 2022, the Minority Group’s 2024 Noteholders and
   2026 Noteholders (the “2024/2026 Noteholders”) commenced a lawsuit



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   in New York state court challenging the 2022 Transaction. ECF No.
   201-36. The 2024/2026 Noteholders alleged that the 2022 Transaction
   impermissibly “transferred hundreds of millions of dollars of value” by
   “strip[ping] Plaintiffs of the liens securing their Senior Secure Notes and
   simultaneously hand[ing] those liens to Platinum and other
   [participating] Noteholders.” ECF No. 201-36 at 5–6. The 2024/2026
   Noteholders sought a judgment holding that the transaction “is null and
   void and not enforceable” and an order avoiding and unwinding the
   transaction. ECF No. 201-36 at 71. The lawsuit was stayed by order of
   this Court. ECF No. 21.

          On March 27, 2023, Langur Maize L.L.C. commenced a New York
   state court lawsuit challenging the 2022 Transaction. ECF No. 201-39.
   Langur Maize is a 2027 Noteholder that purchased its notes after the
   2022 Transaction closed. ECF No. 176 at 74. Langur Maize alleged that
   the 2022 Transaction “sought to boost Platinum’s and Carlyle’s returns
   by allowing them to exchange their Unsecured Notes for new 1.25 Lien
   secured notes . . . , which trade at far higher prices than the Unsecured
   Notes and enjoy priority over all unsecured claims in any recoveries in
   bankruptcy or liquidation.” ECF No. 201-39 at 4. Langur Maize sought
   recovery in the form of damages and the avoidance and unwinding of the
   2022 Transaction. ECF No. 201-39 at 40. The Langur Maize New York
   lawsuit was stayed by order of this Court. ECF Nos. 41; 71.

         B.      This Adversary Proceeding
          On June 1, 2023, Wesco filed a complaint in this adversary
   proceeding against the 2024/2026 Noteholders and Langur Maize. ECF
   No. 1 at 37–53. Wesco filed its first amended complaint on July 9, 2023.
   ECF No. 63.       The amended complaint requested a declaration
   confirming the validity of the 2022 Transaction and a declaration
   confirming that Langur Maize and the 2024/2026 Noteholders that
   acquired their notes after the 2022 Transaction lack standing to pursue
   their claims against non-debtor parties other than WSFS. ECF No. 63
   at 63–73.




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         The 2024/2026 Noteholders and Langur Maize filed
   counterclaims against all parties involved in the 2022 Transaction. The
   2024/2026 Noteholders’ first amended counterclaims seek a declaration
   of standing; a declaration for breach of contract against Wesco, the
   Guarantor Defendants, and WSFS; a declaration for breach of the
   implied covenant of good faith and fair dealing against Wesco, the
   Guarantor Defendants, WSFS, PIMCO, Silver Point, Senator, and
   Citadel; the imposition of an equitable lien against Wesco, the
   Guarantor Defendants, Platinum, Wolverine Top Holding Corporation,
   and the Majority Group’s participating noteholders; equitable
   subordination of claims held by Platinum, Wolverine Top Holding
   Corporation, and the Majority Group’s participating noteholders; a
   declaration for tortious interference with contract against Platinum,
   and alternatively against PIMCO, Silver Point, Senator, and Citadel;
   and a declaration for conversion against Platinum, Wolverine Top
   Holding Corporation, and the Majority Group’s participating
   noteholders. ECF No. 144 at 58–73.

         Langur Maize’s crossclaims, third-party claims, and counterclaim
   seek damages for breaches of (i) § 3.02 of the 2027 Indenture and § 4 of
   the 2027 Notes against Platinum, Wolverine Top Holding Corporation,
   Carlyle, Senator, and WSFS; (ii) § 6.05 of the 2027 Indenture and § 4 of
   the 2027 Notes against Platinum, Wolverine Top Holding Corporation,
   Carlyle, Senator, and WSFS; and (iii) § 9.02(10) of the 2027 Indenture
   and § 4 of the 2027 Notes against Platinum, Wolverine Top Holding
   Corporation, Carlyle, Senator, and WSFS. The lawsuit also sought
   damages for (i) tortious interference with contract against Platinum,
   Wolverine Top Holding Corporation, Carlyle, and Senator; (ii) unjust
   enrichment against all defendants; (iii) breach of the implied covenant
   of good faith and fair dealing against all defendants; and (iv) civil
   conspiracy against all defendants. In addition, the suit sought a
   declaration that (a) the 2022 Transaction violated the 2027 Indenture
   and (b) Langur Maize has standing to sue parties other than Wesco,
   WSFS, and the Guarantor Defendants. ECF No. 142 at 31–41.




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          On July 31, 2023, the parties entered a stipulated comprehensive
   scheduling order. ECF No. 193. Pursuant to the scheduling order, the
   parties agreed to permit the 2024/2026 Noteholders and Langur Maize
   to seek declaratory relief with regard to liability as to their non-debtor
   claims (and to modify the automatic stay to the extent necessary to
   permit declaratory relief). ECF No. 193 at 6–7. The parties agreed that,
   in the event of a finding of liability, any remedies would be determined
   subsequently in this adversary proceeding or in a separate litigation.
   ECF No. 193 at 7.

          The parties filed motions for summary judgment with respect to
   their claims. Following oral argument on the motions, the Court issued
   its memorandum opinion, memorandum opinion supplement, and an
   order and amended order on the summary judgment motions. ECF Nos.
   508; 509; 553; 554. The Court declared that the 2024/2026 Noteholders
   have standing to assert their claims. ECF No. 554 at 2. With respect to
   Langur Maize’s standing, the Court held that, although Langur Maize
   had standing to assert its claims against Wesco, WSFS, and the entities
   that guaranteed Wesco’s obligations pursuant to N.Y. G.O.L. § 13-107,
   there remained a genuine issue of material fact as to whether Langur
   Maize had standing to assert its claims against other entities. ECF Nos.
   508 at 19–28; 553 at 1–3.

         Pursuant to the amended order on the summary judgment
   motions, the Court dismissed the following claims asserted by the
   2024/2026 Noteholders and Langur Maize:

         2024/2026 Noteholders First Amended Counterclaims
           Count             Description       Claim Against
            Two          Breach of Contract—     Guarantor
                         Breach of §§ 2.01 and   Defendants
                          4.12 of the Original
                             Secured Note
                               Indenture
            Two           Breach of Contract       WSFS




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           Three             Breach of Implied           All parties
                             Covenant of Good
                              Faith and Fair
                                 Dealing
            Four              Equitable Lien             All parties
            Five                Equitable                All parties
                              Subordination
           Seven                Conversion               All parties

   ECF No. 554 at 1–2.

         Langur Maize Crossclaims, Third-Party Claims, and
                           Counterclaim
          Count              Description       Claim Against
            One          Breach of § 3.02 of       WSFS
                       the Indenture and § 4
                          of the 2027 Notes
            Two          Breach of § 6.05 of       WSFS
                       the Indenture and § 4
                          of the 2027 Notes
           Three        Breach of § 9.02(10)       WSFS
                        of the Indenture and
                        § 4 of the 2027 Notes
            Five         Unjust Enrichment       All parties
            Six           Breach of Implied      All parties
                          Covenant of Good
                            Faith and Fair
                                Dealing

   ECF No. 554 at 2.

          Trial of the adversary proceeding commenced on January 25,
   2024. The Court heard testimony from twenty-one witnesses and
   admitted hundreds of exhibits. There were thirty-five days of trial
   spread over nearly six months. On July 10, 2024, the Court made three
   principal oral rulings:



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         (1) the rights, liens, and interests that were for the benefit of all
         holders of the 2026 Notes as they existed on March 27, 2022,
         remained in full force and effect on March 29, 2022;
         (2) the selection of the 2027 Notes for exchange was not done in a
         manner permitted under the 2027 Indenture; and
         (3) no relief is granted to the holders of the 2024 Notes.
   ECF No. 1474 at 3.
          The Court stated that these principal interlocutory rulings would
   be replaced by final written rulings. ECF No. 1474 at 3. The Court also
   took the 2024/2026 Noteholders’ and Langur Maize’s remaining claims
   under advisement. This R&R addresses Langur Maize’s claims.

                              JURISDICTION
         The District Court has jurisdiction over this proceeding under 28
   U.S.C. § 1334(a). Venue is proper in this District pursuant to 28 U.S.C.
   § 1409. The dispute has been referred to the Bankruptcy Court under
   General Order 2012-6.

          The Court confirms the rulings in its January 14 Memorandum
   Opinion as to which claims are and are not core. ECF No. 508 at 32–36.
   Langur Maize’s claim for a determination of standing is core. ECF No.
   508 at 34. Langur Maize’s tort and contract claims are not core. ECF
   No. 508 at 34–36. The Court may not enter final judgment with respect
   to the tort and contract claims.

                                DISCUSSION
          This R&R addresses (1) Langur Maize’s standing, (2) Langur
   Maize’s causes of action for breach of contract, (3) Langur Maize’s cause
   of action for tortious interference with contract, and (4) Langur Maize’s
   cause of action for civil conspiracy.

   I.    LANGUR MAIZE’S STANDING
          Langur Maize seeks a declaration of its standing to sue the
   entities not covered by N.Y. G.O.L. § 13-107. Section 13-107 provides:



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         1. Unless expressly reserved in writing, a transfer of any
         bond shall vest in the transferee all claims or demands of
         the transferrer, whether or not such claims or demands are
         known to exist, (a) for damages or rescission against the
         obligor on such bond, (b) for damages against the trustee
         or depositary under any indenture under which such bond
         was issued or outstanding, and (c) for damages against any
         guarantor of the obligation of such obligor, trustee or
         depositary.

         2. As used in this section, "bond" shall mean and include
         any and all shares and interests in an issue of bonds, notes,
         debentures or other evidences of indebtedness of
         individuals, partnerships, associations or corporations,
         whether or not secured.

         3. As used in this section, "indenture" means any mortgage,
         deed of trust, trust or other indenture, or similar
         instrument or agreement (including any supplement or
         amendment to any of the foregoing), under which bonds as
         herein defined are issued or outstanding, whether or not
         any property, real or personal, is, or is to be, pledged,
         mortgaged, assigned, or conveyed thereunder.

   N.Y. Gen. Oblig. Law § 13-107. It is undisputed that Langur Maize
   received authorization letters from DTC (the record holder of the 2027
   Notes) authorizing it to bring suit.

          In its summary judgment rulings, the Court held that § 13-107
   confers upon Langur Maize Article III standing to assert its claims
   against Wesco, WSFS, and all defendants that guaranteed Wesco’s
   obligations under the 2027 Notes. ECF No. 508 at 19–20. The Court
   left open the question of whether Langur Maize had standing to sue
   parties not covered by the statute. The Court found that, because
   Langur Maize purchased its 2027 Notes after the 2022 Transaction had
   already taken place at a substantial discount, it did not itself suffer an




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   injury for purposes of Article III standing unless it purchased its notes
   without knowledge of the 2022 Transaction. ECF No. 508 at 23–25.
   Langur Maize was candid with the Court on the issue and admitted that
   it purchased its 2027 Notes with knowledge of the transaction.

         Based on that acknowledgement, Langur Maize has Article III
   standing only if it was assigned those claims by a party with standing.
   ECF No. 553 at 1–2. To this point, the Court determined that the DTC
   authorization letters were not sufficient to grant standing because DTC
   had not itself suffered an injury stemming from the 2022 Transaction.
   ECF No. 508 at 21–22, 26–28.

          The issue left for determination is whether Langur Maize’s
   purchase of the 2027 Notes effected an automatic assignment of claims
   against parties not covered by § 13-107 from the prior beneficial owners
   of the notes. ECF No. 553 at 1–3. The Court answers the question in
   the negative.

          In the absence of a direct injury, a plaintiff may obtain Article III
   standing if it obtains an assignment of an injured party’s claim. W.R.
   Huff Asset Mgmt. Co., LLC v. Deloitte & Touche LLP, 549 F.3d 100, 107
   (2d Cir. 2008). Upon a successful assignment, the assignee “stand[s] in
   the place of the injured party and satisf[ies] the constitutional
   requirement of an ‘injury-in-fact.’” Id. “To assign a claim effectively,
   the claim’s owner ‘must manifest an intention to make the assignee the
   owner of the claim.’”        Cortlandt St. Recovery Corp. v. Hellas
   Telecommunications, S.a.r.l, 790 F.3d 411, 418 (2d Cir. 2015) (quoting
   Advanced Magnetics, Inc. v. Bayfront Partners, Inc., 106 F.3d 11, 17 (2d
   Cir.1997)). No particular language is necessary to validly assign a
   claim, “so long as the language manifests [the assignor’s] intention to
   transfer at least title or ownership, i.e., to accomplish ‘a completed
   transfer of the entire interest of the assignor in the particular subject of
   assignment.’” Id. (quoting Advanced Magnetics, Inc., 106 F.3d at 17).
   The subject of the assignment is the claim itself. See id.




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          Despite the absence of specific language evidencing a transfer of
   ownership of a claim, N.Y. G.O.L. § 13-107 automatically assigns claims
   under a bond or security against an obligor, trustee, or depositary under
   an indenture, or a guarantor of an obligor’s, trustee’s, or depositary’s
   obligations. N.Y. Gen. Oblig. Law § 13-107(1). Under § 13-107, “the
   buyer of a bond receives exactly the same ‘claims or demands’ as the
   seller held before the transfer.” Bluebird Partners, L.P. v. First Fid.
   Bank, N.A., 97 N.Y.2d 456, 461 (2002).

          With respect to claims against parties other than an obligor,
   trustee/depositary, or guarantor, Langur Maize argues that the relevant
   inquiry for determining the assignment of tort claims is whether “the
   entire interest in the notes” has been assigned. See, e.g., ECF No. 1484
   at 6. New York courts have held that the assignment of the entire
   interest in a contract is sufficient to assign contract claims. See Int'l
   Design Concepts, LLC v. Saks Inc., 486 F. Supp. 2d 229, 236 (S.D.N.Y.
   2007) (finding language in an assignment clause stating “I hereby sell,
   assign, transfer, and set over . . . all my right, title, and interest in and
   to the within contract” as sufficient to transfer contract claims but not
   tort claims (citing Fox v. Hirschfeld, 142 N.Y.S. 261, 264 (App. Div.
   1913))). But the courts have unambiguously held that such language is
   not sufficient to assign tort claims.

          In support of its proposition, Langur Maize relies on
   Pennsylvania Pub. Sch. Employees' Ret. Sys. v. Morgan Stanley & Co.
   772 F.3d 111 (2d Cir.), as amended (Nov. 12, 2014), certified question
   accepted sub nom. Commonwealth of Pennsylvania Pub. Sch. Employees'
   Ret. Sys. v. Morgan Stanley & Co. Inc., 24 N.Y.3d 1028, 22 N.E.3d 187
   (2014), and certified question answered sub nom. Commonwealth of
   Pennsylvania Pub. Sch. Employees' Ret. Sys. v. Morgan Stanley & Co.,
   25 N.Y.3d 543, 35 N.E.3d 481 (2015). There, the court stated that “[t]he
   question in this case is whether Commerzbank has offered sufficient
   evidence to allow a trier of fact to find that DAF assigned its entire
   interest in the notes to Dresdner, including, therefore, its right to sue
   for fraud.” Id. at 123. But the court did not answer the question, instead




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   certifying the issue for determination by the New York courts. Id. at
   123–24.

          Upon certification, the Court of Appeals of New York clarified
   that language evidencing the assignment of the entire interest in notes
   is insufficient to transfer tort claims. In Commonwealth of Pennsylvania
   Pub. Sch. Employees' Ret. Sys. v. Morgan Stanley & Co., the court
   determined that the parties’ dispute as to whether fraud claims were
   assigned pursuant to a note sale turned on the issue of whether an
   “unqualified” sale of the “whole interest” in notes is sufficient to transfer
   fraud claims that arise under the notes. 25 N.Y.3d 543, 549 (2015). The
   court acknowledged that fraud and tort claims are “freely assignable in
   New York.” Id. at 550. But the court found that the right to assert fraud
   or tort claims “related to a contract or note does not automatically
   transfer with the respective contract or note.”              Id. (collecting
   authorities). Rather, “where an assignment of fraud or other tort claims
   is intended in conjunction with the conveyance of a contract or note,
   there must be some language—although no specific words are
   required—that evinces that intent and effectuates the transfer of such
   rights.” Id. (“Without a valid assignment, ‘only the . . . assignor may
   rescind or sue for damages for fraud and deceit’ because ‘the
   representations were made to it and it alone had the right to rely upon
   them.’” (quoting Nearpark Realty Corp. v. City Investing Co., 112
   N.Y.S.2d 816, 817 (Sup. Ct. 1952))).

          The court held that the record did not reflect any explicit
   assignment of tort causes of action. Id. at 551. The plaintiff had
   conceded that there was no explicit assignment of tort claims in
   connection with the sale of notes. Id. Although the plaintiff contended
   that the transfer of the notes “was ‘unqualified’ and, therefore, implicitly
   included claims related thereto,” the court found such a transfer
   insufficient. Id. The plaintiff’s idea that “in the absence of language to
   the contrary, . . . tort claims automatically transferred . . . with the
   notes” was contrary to New York law that requires “either some
   expressed intent or reference to tort causes of action, or some explicit




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   language evidencing the parties’ intent to transfer broad and unlimited
   rights and claims, in order to effectuate such an assignment.” Id.

           Other New York cases further reinforce the Commonwealth
   court’s findings. For example, in Dexia SA/NV v. Stanley, citing
   Commonwealth, the court found that language in an agreement to
   deliver “all right, title, and interest” in securities did not include fraud
   claims since only rights in the subject securities were assigned “without
   explicitly referencing any related tort claims or the overall transaction.”
   22 N.Y.S.3d 833, 833 (2016). In Banque Arabe et Internationale
   D'Investissement v. Maryland Nat. Bank, the court found that, although
   language transferring “all of [BAII’s] rights, title and interest in (a) the
   Participation Agreement,” standing alone, may be deemed insufficient
   to transfer tort claims, other circumstances indicated an intent to
   transfer the claims. 57 F.3d 146, 152 (2d Cir. 1995). Specifically, the
   same assignment language also included an assignment of “all rights,
   title and interest in ‘(b) [BAII’s] participation in [the Marceca Loan],’”
   and that provision was interpreted as giving meaning beyond the
   transfer of rights, title, and interest in the Participation Agreement
   since that language was already included in subparagraph (a) of the
   assignment. Id. The court looked elsewhere in the assignment, quoting
   language stating that the transfer was being made of “all of [BAII’s]
   rights and interest in the transaction described in Paragraphs (a) and
   (b).” Id. The court construed the transfer of the interest in the
   “transaction” as broader than a transfer of an interest in the contract,
   leading the court to conclude that the language is sufficient to effect an
   assignment of tort claims. Id. As an additional factor, the court also
   noted that the assignment was drafted in anticipation that that the
   assignor would be dissolved, and a “party about to become defunct has
   little incentive to reserve transactional rights when transferring its
   interests to its surviving parent corporation.” Id. at 152–53.

         Similarly, in Int'l Design Concepts, LLC, the court found a valid
   assignment of tort causes of action where the transfer of assets
   contained the following language:




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         [A]ll assets of [AGI], including, without limitation, the
         undersigned's now and hereinafter existing Accounts
         Receivable, Contract Rights, Inventory, Machinery and
         Equipment, General Intangibles, including Borrower's
         trademarks and trade names and all products and proceeds
         thereof (as defined in the Load Documents and collectively
         the “Collateral”). Because of the inability of [AGI] to pay
         the Obligations which are currently due and owing, the
         undersigned hereby grants you all rights of possession in
         and to the Collateral . . . .”

   486 F. Supp. 2d at 237. The court found that the assignment of “all
   assets of [AGI]” to be “broad enough to encompass all causes of action
   owned by AGI.” Id. A subsequent transfer of assets contained similarly
   broad language: “HSBC ‘hereby sells, grants, assigns, transfers, conveys
   and sets over to [IDC] all of [HSBC’s] right, title and interest in and to
   all of the Collateral . . . .’” Id. And again, “AGI was a defunct entity and
   would have had little incentive to reserve transactional rights.” Id.;
   Commonwealth of Pennsylvania Pub. Sch. Employees' Ret. Sys., 25
   N.Y.3d at 552 (noting the assignment in Int’l Design “expressly provided
   that it was ‘without limitation’” (quoting Int'l Design Concepts, LLC, 486
   F. Supp. 2d at 236–37)).

           Langur Maize identifies language in the 2027 Indenture and DTC
   procedures that indicate an intent to transfer the entire interest in 2027
   Notes upon a sale of a beneficial interest in the notes. Section 2.06(b) of
   the 2027 Indenture states: “The transfer and exchange of beneficial
   interests in the Global Notes will be effected through the Depositary, in
   accordance with the provisions of this Indenture and the Applicable
   Procedures.” ECF No. 601-7 at 52. The 2027 Indenture defines the
   “Applicable Procedures” as: “[W]ith respect to any transfer or exchange
   of or for beneficial interests in any Global Note, the rules and procedures
   of the Depositary . . . that apply to such transfer or exchange.” ECF No.
   601-7 at 10. The 2027 Indenture also provides that “[t]he rights of
   Beneficial Owners in the Global Note shall be exercised only through




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   the Depositary subject to the Applicable Procedures.” ECF No. 601-7 at
   61. The DTC rules provide:

          [DTC] shall hold the entire interest in, and shall have the
          authority of a holder of Securities to act, in its sole
          discretion, with respect to any Securities Delivered Versus
          Payment, which are the subject of an Incomplete
          Transaction, to issue or transfer the entire interest in such
          Securities . . . .6

   DTC Rules, Rule 9(b) § 2.

          The DTC rules express the steps taken when a beneficial interest
   in the 2027 Notes is transferred from a seller to a purchaser. During
   the transfer of beneficial interests, DTC holds the entire interest in the
   notes and has the authority to then transfer that entire interest to the
   purchaser. But the language does not demonstrate any intention of the
   seller to transfer its ownership of tort causes of action. The rules are
   merely procedures to ensure that a purchaser obtains the entire
   beneficial ownership interest in the seller’s notes.               As the
   Commonwealth court found, there is no expressed intent or reference to
   tort causes of action or “some explicit language evidencing the parties’
   intent to transfer broad and unlimited rights and claims.”
   Commonwealth of Pennsylvania Pub. Sch. Employees' Ret. Sys., 25
   N.Y.3d at 551. For there to be an assignment of tort claims, the evidence
   must have demonstrated some language referencing an assignment of
   claims accruing pursuant to a transaction or a seller’s injury to its
   interest in the notes. See Dexia SA/NV, 22 N.Y.S.3d at 833. In the
   absence of such evidence, the Court cannot conclude that the DTC
   procedures effectuated a transfer of a prior beneficial owner’s tort claims
   to Langur Maize. But the language is nevertheless sufficient to indicate

   6 A “Delivery Versus Payment” is defined in the DTC rules as essentially a purchase

   transaction of the security. DTC Rules, Rule 1. An “Incomplete Transaction” is any
   Delivery Versus Payment transaction where the securities have been credited to DTC’s
   account but have not yet been credited to the account of the purchaser. DTC Rules,
   Rule 1.




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   an intent to transfer a seller’s contract claims, as a transfer of an entire
   interest in a contract transfers all rights under the contract itself. See
   Int'l Design Concepts, LLC, 486 F. Supp. 2d at 236.

           In its January 23 memorandum opinion supplement, the Court
   expressed its concerns with the unworkable circumstance that would
   arise if the 2027 Indenture’s no-action clause contractually barred prior
   beneficial owners from obtaining authorization to bring suit under the
   Indenture. ECF No. 553 at 2 (“Put simply, the sellers to Langur Maize
   would ‘own’ claims, but could never prosecute them. It makes no
   sense.”).

          The language of the 2027 Indenture’s no-action clause and DTC’s
   authorization letter template reveal that the drafters could not have
   intended for prior beneficial owners to be barred from raising claims
   they still owned.

          The Court does not determine whether any consent must be
   obtained for a holder of a tort claim to sue for a matter retained by the
   sellers to Langur Maize. It appears that DTC never owned the tort
   claims. If it never owned the claims, the Court does not understand how
   its consent could be required.

          Nevertheless, on the assumption that DTC’s consent is required,
   the 2027 Indenture’s § 2.08 no-action clause makes no mention of a
   requirement that a beneficial holder still own its notes in order to
   exercise its rights. It merely provides that “[t]he rights of Beneficial
   Owners in the Global Note shall be exercised only through the
   Depositary subject to the Applicable Procedures.” ECF No. 601-7 at 61.
   The section also states that

         nothing herein shall prevent the Issuer, the Trustee, or any
         agent of the Issuer or the Trustee from giving effect to any
         written certification, proxy or other authorization
         furnished by any Depositary (or its nominee), as a Holder,
         with respect to such Global Note or shall impair, as
         between such Depositary and owners of beneficial interests



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         in such Global Note, the operation of customary practices
         governing the exercise of the rights of such Depositary (or
         its nominee) as Holder of such Global Note.

   ECF No. 601-7 at 61.

         DTC’s authorization letter template is written in the past tense,
   indicating that the DTC can provide authorization to sue to any
   beneficial holder, so long as they held notes on the relevant date:

         On Insert the relevant date (“Subject Date”), Cede &
         Co., as nominee of The Depository Trust Company (“DTC”),
         was a holder of record of the Notes.

         DTC is informed by the Participant that the Subject Notes
         credited to the Participant’s Account on the Subject Date
         were beneficially owned by Beneficial Owner, a customer
         of the Participant.

         At the request of the Participant, on behalf of the Beneficial
         Owner, Cede & Co., as the holder of record of the Subject
         Notes on the Subject Date, hereby authorized the
         Participant, solely with respect to the Subject Notes
         beneficially owned by the Beneficial Owner on the Subject
         Date, to take any and all actions and exercise any and all
         rights and remedies that Cede & Co., as the holder of
         record of the Subject Notes on the Subject Date, is entitled
         to take . . . under the terms of the Notes, the related
         guarantees, the related indenture, and any other
         controlling documents.

   ECF No. 1364-29 at 3. The language does not limit authorization to
   current beneficial holders. So long as the holder owned its notes as of
   the subject date, it could potentially obtain authorization to sue. Any
   other language would contravene New York law, under which
   transferors retain their standing to litigate claims they did not expressly
   assign. See Dexia SA/NV, Dexia Holdings, Inc. v. Stanley, 41 Misc. 3d




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   1214(A), at *5 (N.Y. Sup. 2013) (“FSAM did not assign fraud claims to
   assignee-plaintiffs Dexia SA/NV, DHI and DCL; to the extent any fraud
   claims exist, they remain with FSAM alone.”), aff'd sub nom. Dexia
   SA/NV v. Stanley, 22 N.Y.S.3d 833 (2016).

          Langur Maize’s breach of contract claims were fully assigned by
   application of DTC’s transfer procedures. They may be asserted to the
   extent permitted following the Court’s orders on the parties’ motions for
   summary judgment. The claims are against Platinum, Wolverine Top
   Holding Corporation, Carlyle, and Senator. Langur Maize’s eighth
   claim for relief also seeks a declaration that “the [2022 Transaction]
   violated the terms of the Indenture.” ECF No. 142 at 40. The claim is
   asserted against all defendants. ECF No. 142 at 39. This is a contract
   claim that was fully assigned to Langur Maize by application of the DTC
   transfer procedures. Langur Maize asserts a tortious interference with
   contract claim against Platinum, Wolverine Top Holding Corporation,
   Carlyle, and Senator. Those entities are not covered by N.Y. G.O.L. § 13-
   107 and the claim was not assigned by the seller. Langur Maize does
   not have standing to assert this claim, which the Bankruptcy Court
   recommends should be dismissed by the District Court. Langur Maize
   asserts a civil conspiracy claim against all defendants. Pursuant to § 13-
   107, the claim may be asserted only against Wesco, WSFS, and the
   entities that guaranteed Wesco’s obligations under the 2027 Indenture.
   The balance of the civil conspiracy claims should also be dismissed.

   II.   THE 2022 TRANSACTION BREACHED THE 2027 INDENTURE
        In its July 10 oral ruling, the Court found that the 2022
   Transaction breached the 2027 Indenture. ECF No. 1474 at 3.

          The Court’s finding of breach is based on an interpretation of the
   interplay between §§ 3.02 and 3.07(h) of the 2027 Indenture. Section
   3.02, titled “Selection of Notes to Be Redeemed or Purchased,” provides:

         If less than all of the Unsecured Notes are to be redeemed
         pursuant to the provisions of Section 3.07 hereof, the
         Trustee will select Unsecured Notes for redemption or



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         purchase pro rata, by lot or by such method as it shall deem
         fair and appropriate (subject to applicable DTC procedures
         with respect to the Global Notes, including the Applicable
         Procedures).

   ECF No. 601-7 at 63.

         Section 3.07(h), titled “Optional Redemption,” provides:

         The Issuer or its Affiliates may at any time and from time
         to time purchase Unsecured Notes. Any such purchases
         may be made through open market or privately negotiated
         transactions with third parties or pursuant to one or more
         tender or exchange offers or otherwise, upon such terms
         and at such prices as well as with such consideration as the
         Issuer or any such Affiliates may determine. To the extent
         Unsecured Notes are purchased or otherwise acquired by
         the Issuer, such Unsecured Notes may be cancelled and all
         obligations thereunder terminated.

   ECF No. 607-7 at 65–66.

         If Wesco relies on § 3.07(h), it must acquire notes either through
   open market transactions, “privately negotiated transactions with third
   parties,” through tender/exchange offers, or “otherwise.” Platinum’s
   interpretation of § 3.07(h) offered during closing arguments is fraught
   with difficulties.     Platinum asserts an internally contradictory
   interpretation of the first two sentences of the subsection. Platinum
   argues that the first sentence grants unbridled authority to purchase
   unsecured notes. It argues that the second sentence is merely an
   unrestricted list of examples of what the first sentences might mean.
   Platinum also argues that the word “otherwise” implies that any
   purchase at all is permitted, essentially eliminating all meaning from
   the phrase “through open market or privately negotiated transactions
   with third parties or pursuant to one or more tender or exchange offers.”
   Platinum argues, unpersuasively, that it is a “third party” to Wesco.




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          Platinum’s interpretation of “otherwise” is contradicted by the
   Supreme Court’s recent ruling in Purdue Pharma. There, in rejecting
   an overbroad interpretation of § 1123(b)(6) of the Bankruptcy Code, the
   Court held that a “catchall must be interpretated in light of its
   surrounding context and read to ‘embrace only objects similar in nature’
   to the specific examples preceding it.” Harrington v. Purdue Pharma L.
   P., 603 U.S. 204, 217 (2024) (quoting Epic Systems Corp. v. Lewis, 584
   U.S. 497, 512 (2018)). A day after Purdue Pharma, the Court applied
   the same logic when it considered the word “otherwise” contained in 18
   U.S.C. § 1512. Fischer v. United States, 603 U.S. 480, 489–98 (2024).

          Section 3.07(h)’s “otherwise” catchall provision is preceded by a
   series of examples that denote that the pricing of the purchase of
   unsecured notes would be governed by market forces. Those examples
   are:

         •   Open market transactions

         •   Privately negotiated transactions with third parties

         •   Pursuant to tender offers

         •   Pursuant to exchange offers

         Applying New York law, the Fifth Circuit in Serta recently
   interpreted the meaning of the phrase “open market purchase”
   contained as an exception to a pro-rata sharing provision in a loan
   agreement. In re Serta Simmons Bedding, L.L.C., No. 23-20181, 2024
   WL 5250365, at *11–17 (5th Cir. Dec. 31, 2024). There, the parties’
   syndicated loan agreement contained a sacred rights provision that
   required pro rata sharing on any payment or prepayment of principal,
   payment of interest, and conversion for any given class of debt issued by
   the debtor under the loan documents. Id. at *3. Because the provision
   was a sacred right, it could not be modified or waived without the
   unanimous consent of any affected lender. Id. But the provision
   contained an exception allowing the debtor to repay its loans without
   ratable sharing between lenders. Id. The exception provided that the




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   lender may, at any time, “assign all or a portion of its rights and
   obligations to any Affiliated Lender7 on a non-pro rata basis . . . (B)
   through open market purchases[.]” Id. Serta involved the validity of an
   uptier transaction where a select group of lenders provided the debtor
   with “$200 million in new financing in exchange for $200 million in first-
   out, super-priority debt.” Id. at *4. The lenders also exchanged $1.2
   billion of their first-lien and second-lien loans for around $875 million in
   second-out, super-priority debt. Id. The participating lenders and the
   debtor had argued that the uptier transaction was an open market
   purchase based on an interpretation of the provision to mean “a
   transaction in which something is obtained for monetary value in a
   market where prices are set by competitive negotiations between private
   parties.” Id. at *13.

          The court disagreed, holding that “an open market purchase is a
   purchase of corporate debt that occurs on the secondary market for
   syndicated loans.” Id. at *12. The court observed that common usage of
   the phrase contemplates a “specific market in which various parties may
   participate and the prices are set by competition.” Id. The court
   invalidated the uptier transaction and found that “if [the debtor] wished
   to make a § 9.05(g) open market purchase and thereby circumvent the
   sacred right of ratable treatment, it should have purchased its loans on
   the secondary market. Having chosen to privately engage with
   individual lenders outside of this market, [the debtor] lost the protection
   of § 9.05(g).” Id. at *14.

         As Serta confirms, § 3.07(h)’s inclusion of “open market
   transactions” reflects an intent of the drafters to permit the Issuer to
   purchase notes on the appropriate secondary market for those notes.
   Although § 3.07(h) also allows for purchases through private
   negotiations with third parties, the phrase must be interpreted within
   the context of the transactions permitted by § 3.07(h), which all reflect
   purchases at a price obtained through market forces. In this case, the

   7 “Affiliated
               Lender” was defined under the loan documents to include the debtor.
   Serta, 2024 WL 5250365, at *3.




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   “third party” was not a third party at all. It was Platinum, Wesco’s
   sponsor.

          Platinum makes a strained argument to the contrary. It argues
   that Platinum—the 100% equity owner of Wolverine Top Holding
   Corporation, the entity that selects Wesco’s directors, and the entity
   whose employees and officers dominate Wesco’s board—was a third
   party to Wesco. Platinum asks the Court to ignore the common usage of
   the term “third parties” for two reasons. First, Platinum argues it is an
   “Affiliate,” which is a defined term under the 2027 Indenture. ECF No.
   601-7 at 9 (“Affiliate of any specified Person means any other Person
   directly or indirectly controlling or controlled by or under direct or
   indirect common control with such Person.”). According to Platinum, if
   the drafters intended to exclude Platinum, the phrase should have
   stated “non-Affiliates” rather than third parties. Platinum’s second
   argument is that “third parties” means “non-signatories” to the 2027
   Indenture. Platinum’s arguments ignore that “non-Affiliates” and “non-
   signatories” are merely one part of a larger group of third parties.

          In common legal writings, the term “third party” is uniformly
   used in a manner that excludes “affiliates.” See Oppenheimer v.
   Harriman Nat. Bank & Tr. Co. of City of New York, 301 U.S. 206, 211
   (1937) (“The bank had power to sell the stock in question whether
   acquired by it in accordance with or contrary to section 83, and whether
   the stock belonged to it, the affiliate or a third party.”); United States v.
   Brown, 459 F.3d 509, 513 (5th Cir. 2006) (“The Government contended,
   however, that the sale was a sham because Enron executives orally
   promised Merrill a flat fee of $250,000 and a guaranteed 15% annual
   rate of return over the six-month period of Merrill's investment; Enron
   executives allegedly promised that Enron or an affiliate would buyback
   Merrill's interest in the barges if no third party could be found.”); K Mart
   Corp. v. Cartier, Inc., 486 U.S. 281, 328 (1988) (Scalia, J., dissenting)
   (“That same phenomenon renders inexplicable Justice BRENNAN's
   perception that all affiliated trademark holders are less in need of, or
   less deserving of, § 526(a) protection against the products of their foreign




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   affiliates. It is not the affiliates who are doing the damage but third
   parties.”).

          Platinum’s argument is not frivolous. It would be possible to use
   the term “third party” to refer to a non-signatory or a non-Affiliate. But
   the 2027 Indenture contains no such language raising an inference of
   Platinum’s limited interpretation. Rather, the phrase suggests an
   intention to exclude all related parties, whether “Affiliates,” signatories,
   or otherwise. This interpretation is better supported by the drafters’
   decision to include the broader group of “third parties” rather than the
   narrower group of “non-Affiliates” or “non-signatories.” Read in context,
   Platinum is not a third party.

          Platinum’s second argument with respect to its interpretation of
   § 3.07(h) is also unavailing. It argues that the first sentence is not
   modified by the second sentence. But why give examples if those
   examples do not explain anything at all? Under Platinum’s reading, the
   first sentence of the paragraph would authorize any purchase from
   anyone at any time and at any price. Platinum’s interpretation, if true,
   unhinges § 3.07(h) from any restrictions of any kind. The Court cannot
   read the first sentence if it would render the second superfluous. The
   interpretation is also unsupported by the words of the second sentence,
   where the sentence refers to first sentence through the phrase “[a]ny
   such purchases.” The better interpretation is that the second sentence
   strictly limits the first. The words and phrases in a contract should be
   construed so as to give full meaning and effect to all of its provisions.
   Chesapeake Energy Corp. v. Bank of New York Mellon Tr. Co., 773 F.3d
   110, 114 (2d Cir. 2014).

           Fundamentally, Platinum’s interpretation of § 3.07(h) runs afoul
   of its plain meaning. Section 3.07(h) permits the Issuer or its Affiliates
   to purchase 2027 Notes. But those purchases must be made through
   open market or privately negotiated transactions with third parties,
   through tender or exchange offers, or some other form that reflects a
   purchase at market-derived pricing. This is an easy reading of § 3.07(h).




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         Platinum alleges that § 3.02 applies only to redemptions and
   never to purchases.    The argument divorces redemptions from
   purchases.

           Langur Maize provides a cogent explanation of the only rational
   interpretation of § 3.02. The first sentence of § 3.02 reads: “If less than
   all of the Unsecured Notes are to be redeemed pursuant to the provisions
   of Section 3.07 hereof, the Trustee will select Unsecured Notes for
   redemption or purchase pro rata, by lot or by such method as it shall
   deem fair and appropriate . . . .” ECF No. 601-7 at 63. The operation of
   § 3 of the 2027 Indenture can be explained by hypothetical examples.
   As explained below, § 3.02 imposes a market test on the selection of
   notes for all purchases, including purchases under § 3.07(h).

          All parties and the Court agree that § 3.07 regulates redemptions
   of the 2027 Notes. If a redemption occurs, the price, terms, and
   conditions of the redemptions are specified in § 3.07. ECF No. 601-7 at
   65–66. If a redemption of all of the bonds occurs in accordance with § 3,
   there is no need for a further regulatory paragraph. The terms for a
   100% redemption are identical to all parties. But what occurs if there is
   a partial redemption or a sale? On what terms can those events occur?
   Those terms are set forth in § 3.02.

          The opening clause of § 3.02 makes clear that it only applies if
   less than 100% of the notes are redeemed: “If less than all of the
   Unsecured Notes are to be redeemed pursuant to the provisions of
   Section 3.07 hereof . . . .” ECF No. 601-7 at 63. When a purchase or
   redemption of less than all of the notes occurs, there are only three
   remaining possibilities:

         •   Some of the notes could be redeemed.

         •   All of the notes could be purchased.

         •   Some of the notes could be purchased.

          When less than all of the notes are redeemed, § 3.02 mandates a
   fairness in the selection of the notes to be purchased, whether by



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   redemption or otherwise. It allows for a random selection of notes, a pro
   rata purchase, or any other similar method that the Trustee “shall deem
   fair and appropriate.”

         The Court should not read the 2027 Indenture so as to render the
   word “purchase” meaningless in § 3.02, especially since the word
   “purchase” is used fourteen times in that section. ECF No. 601-7 at 63;
   see Chesapeake Energy Corp., 773 F.3d at 114. If notes are purchased,
   then Wesco was required to follow the provisions of §§ 3.02 and 3.07(h).

          Sections 3.02 and 3.07(h) impose two specific limitations when
   notes are purchased by the Issuer: first, purchases are subject to § 3.02’s
   market test for selection, and second, under § 3.07(h), those purchases
   must be made through a transaction that reflects market-derived
   pricing. These limitations work in conjunction to help derive a fair
   market transaction for purchases. Neither of these conditions were met
   on March 28, 2022.

         First, the parties do not dispute that the 2022 Transaction
   involved a purchase of 2027 Notes by Wesco, the Issuer of the Notes.
   ECF No. 601-7 at 7. The purchase was performed through the Exchange
   Agreement. The Exchange Agreement provides:

         (A) each Existing 2027 Notes Holder hereby agrees to
         deliver to the Issuer, at the Exchange Closing, the
         Exchanged Unsecured Notes held by such Holder (which
         amount is set forth opposite such Holder’s name on
         Schedule III under the heading “Principal Amount of
         Exchanged Unsecured Notes”), and (B) in consideration
         therefor, the Issuer hereby agrees to issue such Holder a
         principal amount of New 1.25 Lien Notes equal to
         101.125% of (x) the principal amount of such Holder’s
         Exchanged Unsecured Notes, plus (y) all unpaid interest
         on such Exchanged Unsecured Notes accrued to, but not
         excluding, the Closing Date, with the aggregate principal
         amount of New 1.25 Lien Notes delivered to such Holder




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          being in minimum denominations of $2,000 and integral
          multiples of $1,000 in excess thereof (which amount is set
          forth opposite such Holder’s name on Schedule III under
          the heading “Principal Amount of New 1.25 Lien Notes
          Received”) . . . .

   ECF No. 604-19 at 18.

           The terms of the exchange do not begin to satisfy § 3.07(h). It
   cannot be disputed that the exchange was not an open market
   transaction. See Serta, 2024 WL 5250365, at *12–14. Wesco negotiated
   solely with the Majority Group when reaching all agreed terms. Section
   3.07(h) also permits private transactions with third parties. As set forth
   above, Platinum was not a third party. Section 3.07(h) also allows
   purchases through “tender or exchange offers8 or otherwise.” As set
   forth in detail above, the Supreme Court has made it abundantly clear
   that “or otherwise” language merely means that a comparable type of
   open market transaction could occur. The transaction cannot be
   justified under § 3.07(h).

          Nor can the transaction be saved under §3.02. Section 3.02
   requires any redemption or purchase to be “pro rata, by lot or by such
   method as [the Trustee] shall deem fair and appropriate.” Carlyle and
   Senator were permitted to exchange their 2027 Notes because their
   participation was required to obtain the consents necessary to amend
   the Indentures to permit the issuance of incremental $250 million in
   debt.   And Platinum was included in the transaction following
   negotiations with Carlyle. No other 2027 Noteholder was ever offered
   the opportunity to participate in the exchange. This transaction was not
   pro rata, it was not by lot, and there was no determination by WSFS
   that the transaction was “fair” to the excluded holders; WSFS was
   merely a soldier taking instructions.


   8 Although purchases through “exchange offers” are permissible under § 3.07(h), the

   parties wisely have not argued that the purchase of 2027 Notes was made pursuant to
   an exchange offer within the meaning of the provision.




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         The 2022 Transaction breached §§ 3.02 and 3.07(h) of the 2027
   Indenture.

         A.     The Breaching Parties
           The parties contest exactly who may be held liable for the breach
   of the 2027 Indenture. The participating unsecured noteholders argue
   they are not parties to the 2027 Indenture and therefore cannot be held
   liable under it. ECF No. 1396 at 101–02. Langur Maize also argues
   that, in its January 23 memorandum opinion supplement and amended
   order, the Court dismissed WSFS as a party against Langur Maize’s
   breach of contract claims, and WSFS breached § 3.02 as the “Trustee”
   who did not select 2027 Notes for purchase by fair method. ECF No.
   1395 at 4–5. Langur Maize asks the Court to reconsider the dismissal
   of its breach of contract claims against WSFS. ECF No. 1395 at 16.

          Langur Maize’s breach of contract claims (its first through third
   claims for relief) are asserted against Platinum, Carlyle, Senator,
   WSFS, and Wolverine Top Holding Corporation. ECF No. 142 at 31–34.
   In its amended summary judgment order, the Court dismissed these
   claims against WSFS. ECF No. 554 at 2. Langur Maize’s eighth claim
   for relief seeks a declaration against all defendants that “the [2022
   Transaction] violated the terms of the Indenture.” ECF No. 142 at 39–
   40. The eighth claim for relief is a contract claim that permits a finding
   of breach against all defendants, including Wesco, the Issuer of the 2027
   Notes. ECF No. 142 at 7.

                (1)    Wesco Breached the 2027 Indenture
          Section 3.07(h) states that “[t]he Issuer . . . may at any time and
   from time to time purchase Unsecured Notes.” ECF No. 601-7 at 66. As
   explained above, this provision is limited by § 3.07(h)’s language
   requiring market-derived pricing. Wesco, as Issuer, breached the 2027
   Indenture by failing to execute a purchase in compliance with § 3.07(h).

         Section 3.02 provides that “[i]f less than all of the Unsecured
   Notes are to be redeemed pursuant to the provisions of Section 3.07
   hereof, the Trustee will select Unsecured Notes for redemption or



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   purchase pro rata, by lot or by such method as it shall deem fair and
   appropriate.” ECF No. 601-7 at 63. Section 3.02 accordingly imposes a
   duty upon WSFS to employ a fair method in selecting notes for purchase.

           Section 3.02 must be read in conjunction with WSFS’s limitation
   of liability under § 7.01 of the 2027 Indenture. Under § 7.01(b)(2), “in
   the absence of bad faith on its part, the Trustee may conclusively rely,
   as to the truth of the statements and the correctness of the opinions
   expressed therein, upon certificates or opinions furnished to the Trustee
   and conforming to the requirements of this Indenture.” ECF No. 601-7
   at 108. Section 7.01(c) provides a further limitation: “The Trustee may
   not be relieved from liabilities for its own negligent action, its own
   negligent failure to act, or its own willful misconduct, except that: (1)
   this paragraph does not limit the effect of paragraph (b) of this Section
   7.01 . . . .” ECF No. 601-7 at 108.

           Langur Maize argues that the Court erred in failing to consider
   that WSFS may be held liable for its own negligent conduct under
   § 7.01(c). ECF No. 1395 at 16. Section 7.01(c) states that the paragraph
   does not limit the effect of paragraph (b), and § 7.01(b)(2) provides that,
   unless WSFS acts in bad faith, it may conclusively rely on certificates
   and opinions furnished to it. The Court reads these paragraphs together
   to mean that WSFS may be held liable for its negligence or willful
   misconduct in performing its duties unless it was acting in reliance on
   certificates or opinions, and in that case, WSFS can only be held liable
   for bad faith conduct.

          Mr. Healy, a WSFS employee, testified that WSFS relied on
   officers’ certificates from Wesco and opinions of counsel from Wesco’s
   counsel in executing the Third Supplemental Indentures and Fourth
   Supplemental Indentures. ECF No. 1350 at 151. Section 9.06 of the
   2027 Indenture provides that, in executing a supplement, the trustee
   “will be entitled to receive and (subject to Section 7.01 hereof) will be
   fully protected in relying upon . . . an Officer’s Certificate and an Opinion
   of Counsel . . . .” ECF No. 601-7 at 118. The testimony indicates good




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   faith reliance on these certificates and opinions in executing the
   supplemental indentures. ECF No. 1350 at 152.

          WSFS was not a party to the Exchange Agreement and did not
   participate in any decisions regarding which 2027 Noteholders would be
   selected for exchange. ECF No. 1350 at 149–50, 261–63. The evidence
   indicates that WSFS’s role in the 2022 Transaction involved the
   following: WSFS received authentication orders for the additional 2026
   Notes and 1L/1.25L Notes, a cancellation order to cancel the additional
   2026 Notes, officer’s certificates and opinions of counsel for the execution
   of the Third Supplemental Indentures and Fourth Supplemental
   Indentures, consent letters, an irrevocable instruction from Wesco to
   cancel all exchanged 2024 Notes, 2026 Notes, and 2027 Notes delivered
   to WSFS, and an instruction from Wesco to approve the 1L Notes and
   1.25L Notes for deposit with the DTC’s book entry system. ECF Nos.
   707-42 at 2; 711-10 at 2–46; 1150-5 at 1; 1150-18 at 1–3; 1150-22 at 1;
   1298-22 at 1–5.         The deposit instruction contains “exchange
   spreadsheets” providing information about the holders of the exchanged
   2024 Notes, 2026 Notes, and 2027 Notes, the amount of their holdings,
   and amount of exchanged 1L Notes and 1.25L Notes to reflect in the
   deposit. ECF No. 1298-22 at 3–5. Mr. Healy testified that WSFS does
   not exercise any discretion in the withdrawal and deposit process. ECF
   No. 1350 at 129. WSFS follows the instructions as set forth in the
   spreadsheets, which Mr. Healy testified is the typical process employed
   for DTC withdrawals and deposits. ECF No. 1350 at 129–30.

          The evidence demonstrates that WSFS relied in good faith on the
   instructions provided to it from Wesco’s officers and counsel and did not
   deviate from its typical procedures with respect to its duties. By
   providing officer’s certificates and opinions of counsel with respect to the
   Third Supplemental Indentures and Fourth Supplemental Indentures,
   Wesco’s officers and counsel were certifying to WSFS that the issuance
   of additional 2026 Notes, 1L Notes, and 1.25L Notes, and the release of
   liens securing the 2024 Notes and 2026 Notes, was done in a manner
   permitted by the Indentures. WSFS was entitled to rely on these




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   statements. Although WSFS was not a party to the Exchange
   Agreement and was not involved in the selection of 2027 Notes prior to
   the 2022 Transaction, all documents in the 2022 Transaction were
   executed as part of a single closing call. By relying on officer’s
   certificates and opinions of counsel affirming that the supplemental
   indentures complied with the original indentures, WSFS was entitled to
   rely in good faith on the instruction from the same counsel as to which
   exchanged notes to cancel and certify for deposit into the book entry
   system.

           Wesco, as a purchasing Issuer under § 3.07(h), had an obligation
   to ensure the selection of notes was done in a manner that complied with
   § 3.02. By failing to involve WSFS in the selection of notes and failing
   to utilize a fair method in selecting notes for exchange, Wesco breached
   § 3.02 of the 2027 Indenture.

                (2)   The Participating Unsecured Noteholders and
                      Wolverine Did Not Breach the 2027 Indenture
         With respect to the participating unsecured noteholders—Carlyle
   (and Spring Creek), Platinum, and Senator—neither of these entities
   are parties to the 2027 Indenture. ECF No. 601-7 at 7. Langur Maize
   argues that, although the participating unsecured noteholders are not
   parties, they are parties to the 2027 Notes themselves, which
   incorporate the terms of the 2027 Indenture by reference and therefore
   impose liability under those terms. ECF No. 1395 at 14 (incorporating
   Langur Maize’s argument on summary judgment).

          “As a general rule, in order for someone to be liable for a breach
   of contract, that person must be a party to the contract.” A & V 425 LLC
   Contracting Co. v. RFD 55th St. LLC, 830 N.Y.S.2d 637, 643 (Sup. Ct.
   2007); Pac. Carlton Dev. Corp. v. 752 Pac., LLC, 851 N.Y.S.2d 59 (Sup.
   Ct. 2007) (citing A&V 425 LLC Contracting Co. v. RFD 55th St. LLC,
   830 N.Y.S.2d 637, 643 (Sup. Ct. 2007)), aff'd as modified, 62 A.D.3d 677,
   878 N.Y.S.2d 421 (2009). “Contractual obligations cannot be imposed on
   an intended beneficiary absent a showing that the third party
   manifested acceptance to be bound or the existence of an agency



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   relationship with one of the contracting parties.” Dynamic Worldwide
   Logistics, Inc. v. Exclusive Expressions, LLC, 77 F. Supp. 3d 364, 374
   (S.D.N.Y. 2015); Saray Turizm A.S. v. MTS Logistics, Inc., No. 17 CIV.
   7495, 2021 WL 1199470, at *9 (S.D.N.Y. Mar. 30, 2021).

          “The doctrine of incorporation by reference ‘is grounded on the
   premise that the material to be incorporated is so well known to the
   contracting parties that a mere reference to it is sufficient.’” Maines
   Paper & Food Serv., Inc. v. Keystone Assocs., 23 N.Y.S.3d 398, 400 (2015)
   (quoting Chiacchia v. National Westminster Bank, 507 N.Y.S.2d 888,
   890 (1986)). “[F]or the terms of a separate [writing] to be incorporated
   by reference, it must be clear that the parties knew of and consented to
   the terms to be incorporated by reference.” Mindspirit, LLC v.
   Evalueserve Ltd., 346 F. Supp. 3d 552, 585–86 (S.D.N.Y. 2018) (quoting
   Norcast S.ar.l. v. Castle Harlan, Inc., Case No. 12 CIV. 4973 PAC, 2014
   WL 43492, at *5 (S.D.N.Y. Jan. 6, 2014)). Courts consider two factors in
   making the determination: “(1) whether the allegedly incorporated
   document is expressly identified and so referred to and described in the
   instrument that the paper may be identified beyond all reasonable
   doubt[,] and (2) whether the language incorporating the document
   clearly communicates that the purpose of the reference is to incorporate
   the referenced material into the contract.” Volt Elec. NYC Corp. v.
   A.M.E., Inc., 586 F. Supp. 3d 262, 279 (S.D.N.Y. 2022) (internal
   quotation marks and citations omitted).

          Langur Maize argues the following provision placed on the back
   of the 2027 Notes incorporates the terms of the 2027 Indenture: “The
   terms of the Unsecured Notes include those stated in the Indenture. The
   Unsecured Notes are subject to all such terms, and the Holders are
   referred to the Indenture for a statement of such terms.” ECF No. 601-
   7 at 135.

          Although Langur Maize’s cited clause refers to and incorporates
   the terms of the 2027 Indenture into the 2027 Notes, this incorporation
   is insufficient to demonstrate an intent of the 2027 Noteholders to be
   bound to someone else’s obligations under §§ 3.02 and 3.07 of the 2027



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   Indenture. Sections 3.02 and 3.07 are obligations of the Issuer, its
   Affiliates, and the Trustee of the 2027 Indenture. The sections describe
   the requirements that must be met when conducting a purchase or
   redemption. There is nothing in those sections that purport to impose
   any obligations to those other than the Issuer, its Affiliates, or the
   Trustee.

          Rather, the incorporation clause in the 2027 Notes is intended to
   act in the reverse—i.e., so that the 2027 Noteholders can enforce
   obligations of the Indenture parties. This reading is better supported by
   the incorporation clause itself. The sentence preceding Langur Maize’s
   cited language states “[t]he Issuer issued the Unsecured Notes under an
   Indenture dated as of November 27, 2019 (the “Indenture”) among the
   Initial Issuer, the Guarantors party thereto from time to time and the
   Trustee.” ECF No. 601-7 at 135. And the sentences following the cited
   language provide: “To the extent any provision of this Unsecured Note
   conflicts with the express provisions of the Indenture, the provisions of
   the Indenture shall govern and be controlling. The Unsecured Notes are
   unsecured obligations of the Issuer.” ECF No. 601-7 at 135 (emphasis
   added). The 2027 Indenture describes the obligations of the Indenture
   parties. Because those obligations are owed to the 2027 Noteholders,
   the 2027 Notes incorporate the terms of the 2027 Indenture so that those
   obligations may be enforced by the intended beneficiaries.

         Because the participating unsecured noteholders are not parties
   to the 2027 Indenture, they cannot be obligated or held liable for
   breaches under the Indenture. And even if the participating unsecured
   noteholders are third-party beneficiaries of the 2027 Indenture, Langur
   Maize does not have the right to sue another third-party beneficiary
   absent a manifestation of the third-party beneficiary to be bound to the
   contract.    There is no evidence in a record demonstrating a
   manifestation by the participating unsecured noteholders to be bound to
   the 2027 Indenture. See N.F. Gozo Corp. v. Kiselman, 960 N.Y.S.2d 846,
   848 (App. Term 2012) (“While the status of an intended third-party
   beneficiary gives that individual a right to sue on a contract to which




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   that individual is not a party, this status does not confer upon one of the
   parties to the agreement the right to sue the third-party beneficiary.”).

          The participating unsecured noteholders cannot be held liable for
   a breach of the 2027 Indenture. Wolverine Top Holding Corporation is
   not a party to the 2027 Indenture and therefore also cannot be held
   liable for breach. ECF No. 601-7 at 1.

   III.   WESCO, WSFS, AND THE GUARANTORS ARE NOT LIABLE FOR
          CIVIL CONSPIRACY
         Langur Maize asserts a claim for civil conspiracy against all
   defendants. ECF No. 142 at 39. Through N.Y. G.O.L. § 13-107, the
   claim may be asserted against Wesco, WSFS, and the entities that
   guaranteed Wesco’s obligations under the 2027 Indenture.

          “New York law does not provide a substantive tort of civil
   conspiracy.” Innovative Networks, Inc. v. Satellite Airlines Ticketing
   Centers, Inc., 871 F. Supp. 709, 731 (S.D.N.Y. 1995). “Rather, a plaintiff
   must plead specific wrongful acts that constitute an independent tort.”
   Id. “Allegations of conspiracy are permitted . . . to show that the
   substantive tortious acts complained of flowed from a common scheme
   or plan and to connect each defendant with an actionable injury.” Id.
   “Thus, allegations of civil conspiracy are proper ‘for the purpose of
   establishing joint liability by co-participants in tortious conduct.’” Id.
   (quoting John's Insulation, Inc. v. Siska Const. Co., 774 F. Supp. 156,
   162 (S.D.N.Y. 1991)).

          Langur Maize’s civil conspiracy claim is based on the underlying
   tort of tortious interference with contract asserted against the
   participating unsecured noteholders. ECF No. 142 at 39. Langur
   Maize’s allegations center around the participating unsecured
   noteholders’ tacit agreement to tortiously interfere with the 2027
   Indenture through the negotiation and execution of the 2022
   Transaction. ECF No. 1395 at 35.

         Langur Maize does not assert a tortious interference claim
   against Wesco, WSFS, or the entities that guaranteed Wesco’s



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   obligations under the 2027 Indenture. Nor can it, as these entities are
   parties to the 2027 Indenture and cannot tortiously interfere with it.
   Thompson v. Bosswick, 855 F. Supp. 2d 67, 88 (S.D.N.Y. 2012) (internal
   quotation marks and citations omitted) (“[O]nly a stranger to a contract,
   such as a third party, can be held liable for tortious interference with
   the contract.”); ECF No. 601-7 at 7 (Wesco, Trustee, and Guarantors are
   parties to the 2027 Indenture). Under New York law, these entities
   cannot be held liable for civil conspiracy because there is no allegation
   that they engaged in any substantive underlying tort.

         Langur Maize’s civil conspiracy claim fails.

                               CONCLUSION
         The Court recommends that the District Court:
         1. Declare that Wesco Aircraft Holdings, Inc. is liable to Langur
            Maize for its breach of the 2027 Indenture.

         2. Dismiss the balance of Langur Maize’s claims.

         3. Award damages to Langur Maize, after trial or remand to this
            Court.
   SIGNED 01/15/2025


                                    _______________________________
                                             Marvin Isgur
                                    United States Bankruptcy Judge




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